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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY

                  D.N.J. LBR 2016-1, FEE APPLICATION COVER SHEET


  Debtor:         LTL Management LLC      Applicant:     Randi S. Ellis, FTCR

  Case No.:       21-30589-MBK            Client:        N/A

  Chapter:        11                      Case Filed:    October 14, 2021 (the “Petition Date”)


  FIRST INTERIM APPLICATION OF RANDI S. ELLIS, LEGAL REPRESENTATIVE
  FOR FUTURE TALC CLAIMANTS, FOR ALLOWANCE OF COMPENSATION FOR
     PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT OF THE
    EXPENSES INCURRED FOR THE PERIOD FROM MARCH 8, 2022 THROUGH
                             MAY 31, 2022


                                       SECTION I
                                     FEE SUMMARY

  Interim Fee Application No. 1                                    ☐ Final Fee Application
 Summary of Amounts Requested for the Period from March 8, 2022 through May 31, 2022 (the
 “Second Interim Statement Period”).
                                            FEES                       EXPENSES

  Total Previous Fees
  and Expenses Requested:                   $376,675.00                $7,086.66
  Total Fees Allowed To Date:               $0                         $0
  Total Retainer (If Applicable)            $0                         $0
  Total Holdback (If Applicable)            $75,335.00                 $0
  Total Received by Applicant               $301,420.00                $7,086.66


  Total Fees:                      $376,675.00
  Total Disbursements:             $7,086.66
  Total Fee Application:           $383,761.66
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                                       SECTION II
                                   SUMMARY OF SERVICES

   SERVICES RENDERED                                                HOURS   FEE
   a)   Asset Analysis and Recovery:
        Identification and review of potential assets including
        causes of action and non-litigation recoveries.

   b) Asset Disposition
      Sales, leases, abandonment and related transaction
      work.

   c)   Avoidance Action Litigation
        Preference and fraudulent transfer litigation.

   d) Business Operations
      Issues related to debtor-in-possession operating in
      chapter 11 such as employee, vendor, tenant issues and
      other similar problems.

   e)   Case Administration
        Coordination and compliance activities, including
        preparation of statement of financial affairs, schedules,
        list of contracts, United States Trustee interim
        statements and operating reports; contacts with the
        United States Trustee; general creditor inquires.           41.4    $39,330.00

   f)   Claims Administration and Objections
        Specific claim inquiries; bar date motions; analyses,
        objections and allowance of claims.

   g) Employee Benefits/Pensions
      Review issues such as severance, retention, 401K
      coverage and continuance of pension plan.

   h) Fee/Employment Applications
      Preparations of employment and fee applications for
      self or others; motions to Establish interim procedures.

   i)   Fee/Employment Objections
        Review of an objections to the employment and fee
        applications of others.
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   SERVICES RENDERED                                               HOURS   FEE
   j)   Financing
        Matters under 361, 363 and 364 including cash
        collateral and secured clams; loan document analysis.

   k) Litigation
      Other than Avoidance Action Litigation (there should
      be a separate category established for each major
      matter).                                                     317.9   $302,005.00

   l)   Meetings of Creditors
        Preparing for and attending the conference of creditors,
        the 341(a) meeting and other creditors’ committee
        meetings.

   m) Plan and Disclosure Statement
      Formulation, presentation and confirmation;
      compliance with the plan confirmation order, related
      orders and rules; disbursement and case closing
      activities, except those related to allowance and
      objections to allowance of claims.

   n) Relief from Stay Proceedings
      Matters relating to termination or continuation of
      automatic stay under 362.

   o) Accounting/Auditing
      Activities related to maintaining and auditing books of
      account, preparation of financial statements and
      account analysis.

   p) Business Analysis
      Preparation and review of company business plan;
      development and review of strategies; preparation and
      review of cash flow forecasts and feasibility studies.

   q) Corporate Finance
      Review financial aspects of potential mergers,
      acquisitions and disposition of company or
      subsidiaries.
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   SERVICES RENDERED                                            HOURS   FEE
   r)   Data Analysis
        Management information systems review, installation
        and analysis, construction, maintenance and reporting
        of significant case financial data, lease rejection,
        claims, etc.

   s)   Litigation Consulting
        Providing consulting and expert witness services
        related to various bankruptcy matters such as
        insolvency, feasibility, avoiding actions; forensic
        accounting, etc.

   t)   Reconstruction Accounting
        Reconstructing books and records from past
        transactions and brining accounting current.

   u) Tax Issues
      Analysis of tax issues and preparation of state and
      federal tax returns.

   v) Valuation
      Appraise or review appraisals of assets.

   w) Travel Time
      Please note that non-working travel time must be billed
      at 50% of cost.                                           74.4    $35,340.00

   SERVICE TOTALS:                                              433.7   $376,675.00
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                                     SECTION III
                               SUMMARY OF DISBURSEMENTS

   DISBURSEMENTS                                                       AMOUNT

   a)   Filing Fees
        Payable to Clerk of Court.

   b) Computer Assisted Legal Research
      Westlaw, Lexis and a description of manner calculated.

   c)   Pacer Fees
        Payable to the Pacer Service Center for search and/or print.

   d) Fax
      Include per page fee charged.

   e)   Case Specific Telephone/Conference Call Charges
        Exclusive of overhead charges.

   f)   In-house Reproduction Services
        Exclusive of overhead charges.

   g) Outside Reproduction Services
      Including scanning services.

   h) Other Research
      Title searches, UCC searches, Asset searches, Accurint.

   i)   Court Reporting
        Transcripts.

   j)   Travel
        Mileage, tolls, airfare, parking.                              $7,086.66

   k) Courier & Express Carriers
      Overnight and personal delivery.

   l)   Postage

   m) Other (specify)
      Meals

   DISBURSEMENTS TOTALS:                                               $7,086.66
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       I certify under penalty of perjury that the foregoing is true and correct.

  Executed on July 11, 2022                                   s/Randi S. Ellis
                                                              Randi S. Ellis
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  UNITED STATES BANKRUPTCY                     COURT
  DISTRICT OF NEW JERSEY


  Caption in Compliance with D.N.J. LBR 9004-1(B)
  Mark Falk, Esq.
  WALSH PIZZI O’REILLY FALANGA LLP
  Three Gateway Center
  100 Mulberry Street, 15th Floor
  Newark, NJ 07102
  (973) 757-1100
  Counsel for Randi S. Ellis, Legal Representative for
  Future Talc Claimants

                                                         Case No.: 21-30589
  In re:
                                                         Judge:   Michael B. Kaplan
  LTL Management, LLC,
                                                         Chapter: 11
                               Debtor.



              FIRST INTERIM APPLICATION OF RANDI S. ELLIS,
           LEGAL REPRESENTATIVE FOR FUTURE TALC CLAIMANTS,
      FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
      RENDERED AND REIMBURSEMENT OF THE EXPENSES INCURRED FOR
           THE PERIOD FROM MARCH 8, 2022 THROUGH MAY 31, 2022

           Randi S. Ellis, Legal Representative for Future Talc Claimants (“FTCR”) in the above-

 captioned matter, submits this application (the “Application”) pursuant to 11 U.S.C. §§ 330 and

 331 of the United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of

 Bankruptcy Procedure, and Local Bankruptcy Rule 2016-3, as her first interim application for

 compensation for services rendered and reimbursement of expenses for the period of March 8,

 2022 through May 31, 2022 (the “Second Interim Compensation Period”). By this Application,

 pursuant to the Compensation Procedures Order (defined below), FTCR seeks allowance and

 payment of compensation in the amount of $376,675.00 for services rendered by FTCR during the

 Second Interim Compensation Period and allowance and reimbursement of actual and necessary
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 expenses in the amount of $7,086.66 incurred during the Second Interim Compensation Period. In

 support of the Application, FTCR respectfully states as follows:

                                         BACKGROUND

        1.      On October 14, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

 relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the

 “Bankruptcy Code”), commencing the above-captioned chapter 11 case (the “Chapter 11 Case”)

 in the United States Bankruptcy Court for the Western District of North Carolina. The Chapter 11

 Case was subsequently transferred to United States Bankruptcy Court for the District of New

 Jersey on November 16, 2021 (ECF No. 416).

        2.      On March 18, 2022, the Bankruptcy Court entered an Order Appointing Randi S.

 Ellis as Legal Representative for Future Talc Claimants. (ECF No. 1786.) The Appointing Order

 explicitly provided that FTCR “shall be a party in interest in this chapter 11 case and shall have

 standing under section 1109(b) of the Bankruptcy Code to be heard on any issue in this case in the

 Bankruptcy Court, the District Court, or any other court affecting the rights of Future Talc

 Claimants.” (Id. p. 3, ¶ 2.) The Appointing Order also provides that “compensation, including

 professional fees and reimbursement of actual and necessary expenses incurred on and after March

 8, 2022, shall be payable to [FTCR]…, as appropriate, subject to this Court, and in accordance

 with the terms, conditions, and procedures set forth in the Interim Compensation Order” and FTCR

 “shall be compensated at the rate of $950 per hour, subject to periodic adjustment in the ordinary

 course of her business, plus reimbursement of actual, reasonable, and documented out-of-pocket

 expenses.” (Id. p. 3, ¶ 4.) A true copy of the Appointing Order is attached hereto as Exhibit A.

        3.      On December 9, 2021, the Court entered the Order Establishing Procedures for

 Interim Compensation and Reimbursement of Retained Professionals (ECF No. 761) (the
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 “Compensation Procedures Order”). Pursuant to the Compensation Procedures Order and the

 Modified Order Establishing Procedures for the Allowance of Interim Compensation and

 Reimbursement of Expenses of Retained Professionals (ECF No. 870) (collectively, the “Interim

 Compensation Order”), FTCR shall file with the Court and serve monthly fee statements no later

 than 30 days after the end of the month for which the fees are sought. If there are no objections to

 a monthly fee statement, then FTCR is entitled to payment in the amount of eighty percent (80%)

 of the fees and one hundred percent (100%) of the expenses requested in the monthly fee statement.

        4.      The Interim Compensation Order further provides that FTCR may file interim fee

 applications for allowance of compensation and reimbursement of expenses of the amount sought

 in the monthly fee statements, including the twenty percent (20%) holdback, pursuant to section

 331 of the Bankruptcy Code. (ECF No. 761.)

        5.      FTCR now submits her first interim application for compensation for services

 rendered and reimbursement of expenses incurred during the Second Interim Compensation

 Period. The following is a summary of the significant services performed by FTCR during the

 Second Interim Compensation Period.

        6.      In accordance with the procedures prescribed in the Compensation Procedures

 Order, FTCR, through her authorized retained counsel Walsh Pizzi O’Reilly Falanga, LLP (ECF

 No. 1986), has filed and served monthly fee statements (the “Monthly Fee Statements”) during the

 Second Interim Compensation Period. Copies of FTCR’s Monthly Fee Statements are attached

 hereto as Exhibit B.

        7.      Specifically, on April 29, 2022, FTCR filed and served her first monthly fee

 statement (the “First Monthly Fee Statement”) requesting payment of fees in the amount of

 $81,776.00 ($102,220.00 less 20% holdback of $20,444.00) and reimbursement of expenses in the
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 amount of $2,495.95 incurred for the period of March 8, 2022 through March 31, 2022 (ECF No.

 2196; 2197). No objections were filed to the First Monthly Fee Statement and the corresponding

 Certificate of No Objection was filed on May 16, 2022. (ECF No. 2293.)

        8.     On May 20, 2022, FTCR filed and served her second monthly fee statement (the

 “Second Monthly Fee Statement”) requesting payment of fees in the amount of $99,218.00

 ($124,022.50 less 20% holdback of $24,804.50) and reimbursement of expenses in the amount of

 $1,516.47 incurred for the period of April 1, 2022 through April 30, 2022 (ECF No. 2326; 2327].

 No objections were filed to the Second Monthly Fee Statement and the corresponding Certificate

 of No Objection was filed on June 6, 2022. (ECF No. 2412.)

        9.     On June 14, 2022, FTCR filed and served her third monthly fee statement (the

 “Third Monthly Fee Statement”) requesting payment of fees in the amount of $120,346.00

 ($150,432.50 less 20% holdback of $30,086.50) and reimbursement of expenses in the amount of

 $3,074.24 incurred for the period of May 1, 2022 through May 31, 2022 (ECF No. 2497; 2498).

 No objections were filed to the Third Monthly Fee Statement and the corresponding Certificate of

 No Objection was filed on June 29, 2022. (ECF No. 2626.)

        10.    With each of the Monthly Fee Statements FTCR submitted as an exhibit its monthly

 billing invoice that detailed the services performed on behalf of the FTCR, as well as a detailed

 breakdown of all out-of-pocket disbursements necessarily incurred by Walsh for the statement

 period. See Exhibit B.

        11.    As of the date of this interim fee application, FTCR has received payment for fees

 in the amount of $301,420.00 and payment for expenses in the amount of $7,086.66.

        12.    A summary of FTCR Monthly Fee Statements is reflected below:
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         Date           Fees          Less 20%            Monthly Fee            Expense
                                      Holdback         Payments Received     Reimbursement
                                                                                  (100%)
     April 29, 2022 $102,220.00    $20,444.00         $81,776.00             $2,495.95

     May 20, 2022    $124,022.50   $24,804.50         $99,218.00             $1,516.47

     June 14, 2022   $150,432.50   $30,086.50         $120,426.00 1          $3,074.24

                     Total Fees:   Total Holdback: Total Monthly Fee Total   Expense
                                                   Payments Received: Reimbursement:

                     $376,675.00   $75,335.00         $301,420.00            $7,086.66


          13.     In accordance with the Interim Compensation Order, FTCR seeks interim approval

 of all fees and expenses sought in the Monthly Fee Statements and payment in an amount equal to

 the difference between the amount of the fees and expenses allowed and the actual payments

 received by FTCR on account of the Monthly Fee Statements.

                SUMMARY OF SERVICES RENDERED AND EXPENSES INCURRED
                  DURING THE SECOND INTERIM COMPENSATION PERIOD

          14.     As set forth in the Application cover sheet submitted herewith, as FTCR I

 performed a total of 433.7 hours of services during the Second Interim Compensation Period, for

 which I seek compensation of $376,675.00, and incurred $7,086.66 in out-of-pocket expenses

 which were actual, necessary expenses in connection with rendering my services as the fiduciary

 to the Future Talc Claimants as described briefly herein.




 1
   On July 7, 2022 a payment was received in the amount of $123,500.24 for partial payment of
 FTCR’s May 2022 fees and expenses. That amount was $80.00 more than what was expected at
 the time based on the May Monthly Fee Statement that included fees in the amount of $150,432.50
 less 20% holdback of $30,086.50 equaling 120.346.00, plus reimbursement of expenses totalling
 $3,074.24. Therefore, the amount held back for FTCR fees in May was $80.00 less than
 anticipated and thus the payment request for the outstanding fees and expenses due FTCR for the
 Second Interim Compensation Period has been reduced accordingly.
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         15.     As described further below, during the Second Interim Compensation Period, I

 rendered my services as the Court-appointed fiduciary for Future Talc Claimants in all aspects of

 the bankruptcy case, mediation and any related mass-tort issues. Given the nature and complexity

 of the issues at hand, I submit that the services provided were necessary, reasonable, and

 appropriate under the circumstances and beneficial to the bankruptcy estate and these proceedings

 to protect the rights of the Future Talc Claimants and fulfill my obligations as the FTCR at the

 time the services were rendered.

         16.     As FTCR I performed a variety of work during the Second Interim Compensation

 Period, including, without limitation: 1) analyzing issues relevant to the fiduciary role, duties and

 obligations of the FTCR; 2) research and analyze data, information, and studies concerning Talc

 and ovarian cancer and mesothelioma, settlement data, Talc trials, and related presentations and

 discovery; 3) analyze filings, including pleadings and briefing, in both the bankruptcy proceedings

 and the related appeal in the Third Circuit Court of Appeals; 4) analyzing potential forms of

 bankruptcy plans and future trusts; 5) vetting and engagement of experts; 6) reviewing fact and

 expert materials provided by the Debtor and the Official Committee of Talc Claimants (“TCC”)

 relevant to the work to be performed by FTCR on behalf of Future Talc Claimants; 7) analyzing

 issues concerning discovery from Debtor and TCC; and 8) analyzing issues related to mediation.

 This summary is intended only to highlight certain work I performed as FTCR on behalf of the

 Future Talc Claimants. Detailed descriptions of all work performed, and expenses incurred during

 the Second Interim Compensation Period are included in my Monthly Fee Statements and are

 incorporated herein by reference as if fully set forth in their entirety.

         17.     By way of further example, I researched and analyzed research provided by counsel

 concerning, among other things, the duties and obligations of the FTCR, FTCR standing and
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 potential positions I could take related to the bankruptcy stay and preliminary injunction, motion

 to dismiss the bankruptcy proceedings and related appeal to the Third Circuit, reconstitution of the

 committees and request to appoint a second FTCR, constitutional questions related to the Debtor’s

 bankruptcy petition, divisional merger transactions, jurisdictional issues, and related available

 relief, liability and damages valuation/assessment, plan concepts and structure, trust agreements

 and distribution procedures, claim estimation, the potential forms of a mediated settlement, and

 settlement data and other potential discovery issues and related confidentiality issues.

        18.     I participated in regular in person and telephone conferences, meetings, and

 presentations, with the Debtor, the TCC, and the Mediators.

        19.     I appeared at all mediation sessions and Court hearings since my approval and have

 communicated regularly with my counsel in preparation for all such mediation sessions and Court

 hearings.

        20.     I, along with my counsel, also spent significant time identifying, vetting, and

 retaining expert professionals to provide, among other things, talc liability valuation and

 forecasting services, and services related to the financial analysis of future ovarian cancer and

 mesothelioma claims. This work involved regular communications with my counsel and potential

 expert professionals, as well as the review and analysis of significant research concerning potential

 expert professionals.

        21.     In sum, during the Second Interim Compensation Period, I provided significant

 services in connection with this Chapter 11 Case on behalf of the Future Talc Claimants in

 accordance with my fiduciary responsibilities and the terms of my Appointing Order.                 I

 respectfully submit that the services performed were necessary to the administration of this

 Chapter 11 Case and were beneficial when the services were rendered. All services were
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 performed within a reasonable amount of time commensurate with the complexity, importance and

 nature of the problem, issue or task addressed.

        22.     In addition to the foregoing, I incurred out-of-pocket expenses during the Second

 Interim Compensation Period in the amount of $7,086.66 which were “actual, necessary expenses”

 in connection with rendering the professional services described above pursuant to section

 330(a)(1)(B) of the Bankruptcy Code. A detailed list of the expenses FTCR incurred during the

 Second Interim Compensation Period is summarized on Exhibit C, attached hereto and made a

 part hereof. Such expenses all relate to travel/transportation related to mediation and court

 hearings. FTCR has made every effort to minimize my expenses in this matter.

        23.     This is FTCR’s first interim application for compensation for services under the

 Interim Compensation Order and FTCR has not made any prior or other application to this or any

 other Court for this relief. FTCR has and will continue to perform additional necessary services

 as the fiduciary for the Future Talc Claimants the Second Interim Compensation Period, for which

 FTCR will file additional interim fee applications.

        24.     FTCR submits that the compensation sought herein is reasonable within the

 meaning of sections 330 and 331 of the Bankruptcy Code. FTCR respectfully submits that I

 rendered all the services for which compensation is requested herein in connection with the

 Debtor’s Chapter 11 case in furtherance of FTCR’s fiduciary responsibilities to the Future Talc

 Claimants and that all such professional services rendered were reasonable and necessary.

                           RELIEF REQUESTED AND CONCLUSION

        WHEREFORE, for all of the foregoing reasons, pursuant to sections 328, 330, and 331 of

 the Bankruptcy Code, FTCR respectfully requests (i) allowance of compensation for professional

 services rendered as FTCR during the Second Interim Compensation Period in the amount of
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 $376,675.00; (ii) reimbursement of actual and necessary expenses incurred by FTCR during the

 Second Interim Compensation Period in the amount of $7,086.66; (iii) payment of the outstanding

 fees and expenses due FTCR for the Second Interim Compensation Period in the amount of

 $75,255.00; and (iv) such other and further relief as this Court deems just and proper.



  Dated: July 11, 2022                             Respectfully submitted,

                                                   s/Randi S. Ellis
                                                   Randi S. Ellis
                                                   Legal Representative for Future Talc
                                                   Claimants
